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                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT
                                 100 EAST FIFTH STREET, ROOM 540
  Kelly L. Stephens             POTTER STEWART U.S. COURTHOUSE                   Tel. (513) 564-7000
        Clerk                       CINCINNATI, OHIO 45202-3988                 www.ca6.uscourts.gov




                                                   Filed: February 09, 2024

Mr. David J. Wright
302 General Smith Drive
Richmond, KY 40475

                      Re: Case No. 23-6108, Honorable Order of KY Colonels, Inc. v. KY Colonels Intl, et al
                          Originating Case No. : 3:20-cv-00132

Dear Mr. Wright,

   You have until March 11, 2024 to either pay the $605.00 appellate filing fee or file a motion
for leave to proceed on appeal in forma pauperis and an accompanying financial affidavit. Either
one must be paid/filed with the U.S. District Court. Failure to do one or the other may result
in the dismissal of the appeal without further notice. If you move for pauper status and the
district court denies your motion in part or in full, or if you are otherwise dissatisfied with the
district court's ruling, you may renew the motion for pauper status in this court within 30 days of
that ruling. Please note that if you do nothing, the appeal will be dismissed for want of
prosecution without further notice.
                                                    Sincerely yours,

                                                   s/Roy G. Ford
                                                   Case Manager
                                                   Direct Dial No. 513-564-7016

cc: Mr. Cornelius Edwin Coryell II
    Ms. Julie Laemmle Watts

Enclosure
